       Case 1:18-cv-01196-AJN Document 131 Filed 08/17/20 Page 1 of 13




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


CHRISTIAN CHARLES,

                    Plaintiff,

      v.
                                             No. 18 Civ. 01196 (AJN) (KHP)
JERRY SEINFELD, COLUMBUS 81
PRODUCTIONS, INC., EMBASSY ROW, LLC,
COMEDIANS IN CARS, LLC, SONY PICTURES
TELEVISION INC., and NETFLIX, INC.,

                    Defendants.




               REPLY MEMORANDUM OF LAW OF DEFENDANTS
           JERRY SEINFELD, COLUMBUS 81 PRODUCTIONS, INC., AND
               COMEDIANS IN CARS, LLC IN SUPPORT OF THEIR
                 MOTION FOR ATTORNEYS’ FEES AND COSTS

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Dated: August 17, 2020                   Attorneys for Defendants Jerry Seinfeld,
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                                         Row, LLC, Comedians in Cars, LLC, Sony
                                         Pictures Television Inc., and Netflix, Inc.
            Case 1:18-cv-01196-AJN Document 131 Filed 08/17/20 Page 2 of 13




                                                   TABLE OF CONTENTS
                                                                                                                                      Page

PRELIMINARY STATEMENT .................................................................................................... 1

ARGUMENT .................................................................................................................................. 2
          I.         DEFENDANTS ARE ENTITLED TO RECOVER THEIR
                     ATTORNEYS’ FEES AND COSTS .......................................................................2
                     A.         Plaintiff’s Copyright Claims Are Objectively Unreasonable under
                                Second Circuit Precedent, and the Sixth Circuit’s Everly Decision
                                Does Not Undermine that Conclusion .........................................................2
                     B.         Plaintiff Does Not Dispute that His Claims Are Objectively
                                Unreasonable under Second Circuit Authority ............................................6
                     C.         The Court Should Deter Plaintiff’s Vexatious Litigation Tactics ...............7
          II.        PLAINTIFF DOES NOT CHALLENGE THE
                     REASONABLENESS OF DEFENDANTS’ ATTORNEYS’ FEES
                     AND COSTS ...........................................................................................................8

CONCLUSION ............................................................................................................................... 9




                                                                      i
            Case 1:18-cv-01196-AJN Document 131 Filed 08/17/20 Page 3 of 13




                                                 TABLE OF AUTHORITIES

                                                                    Cases

Baker v. Urban Outfitters, Inc.,
   431 F. Supp. 2d 351 (S.D.N.Y. 2006)........................................................................................7

Everly v. Everly,
   958 F.3d 442 (6th Cir. 2020) .....................................................................................1, 3, 4, 5, 7

Fogerty v. Fantasy, Inc.,
   510 U.S. 517 (1994) ...............................................................................................................2, 8

Gary Friedrich Enters., LLC v. Marvel Characters, Inc.,
   716 F.3d 302 (2d Cir. 2013).......................................................................................................4

Kirtsaeng v. John Wiley & Sons, Inc.,
    136 S. Ct. 1979 (2016) ...............................................................................................................3

Kwan v. Schlein,
  634 F.3d 227 (2d Cir. 2011)...................................................................................................5, 6

Mahan v. Roc Nation, LLC,
  2015 WL 4388885 (S.D.N.Y. July 17, 2015), aff’d, 634 F. App’x 329 (2d Cir.
  2016) ......................................................................................................................................3, 6

Mahan v. Roc Nation, LLC,
  634 F. App’x 329 (2d Cir. 2016) .......................................................................................2, 5, 7

Merchant v. Levy,
   92 F.3d 51 (2d Cir. 1996) ...........................................................................................................5

Porto v. Guirgis,
   659 F. Supp. 2d 597 (S.D.N.Y. 2009)........................................................................................7

Sid Bernstein Presents, LLC,
    2018 WL 1587125 (S.D.N.Y. Mar. 29, 2018) .......................................................................6, 7

Simmons v. Stanberry,
   810 F.3d 114 (2d Cir. 2016).......................................................................................................6

TufAmerica Inc. v. Diamond,
   2018 WL 401510 (S.D.N.Y. Jan. 12, 2018) ..........................................................................6, 8

TufAmerica, Inc. v. Diamond,
   2016 WL 1029553 (S.D.N.Y. Mar. 9, 2016) .........................................................................2, 6

Wilson v. Dynatone Publ’g Co.,
   892 F.3d 112 (2d Cir. 2018).......................................................................................................4


                                                                       ii
            Case 1:18-cv-01196-AJN Document 131 Filed 08/17/20 Page 4 of 13

                                       TABLE OF AUTHORITIES (continued)
                                                                                                                                    Page(s)

                                                                 Statutes

17 U.S.C. § 201(b) ...........................................................................................................................4




                                                                     iii
         Case 1:18-cv-01196-AJN Document 131 Filed 08/17/20 Page 5 of 13




                                PRELIMINARY STATEMENT

        As the Second Circuit’s summary order makes plain, Plaintiff’s lawsuit was time-barred

under controlling Second Circuit precedents because Plaintiff’s own amended complaint

demonstrated that Mr. Seinfeld had repudiated Plaintiff’s ownership claims more than six years

before Plaintiff filed suit. Plaintiff does not dispute that courts routinely award defendants

attorneys’ fees and costs under the Copyright Act when a lawsuit is filed, like Plaintiff’s here, in

disregard of the Act’s statute of limitations. Nor does he dispute the reasonableness of the fees

and costs incurred by the Seinfeld Defendants in defending this action. Instead, Plaintiff’s

opposition is based only on the notion that the Sixth Circuit’s recent decision in Everly v. Everly,

958 F.3d 442 (6th Cir. 2020) renders reasonable his position that Mr. Seinfeld’s repudiation of

Plaintiff’s interests in the Show does not matter because Plaintiff asserts to be an author of the

Show and the Act’s three-year statute of limitations is renewed by each act of alleged

infringement.1 Once again, Plaintiff is wrong.

        Far from adopting Plaintiff’s position here, the Sixth Circuit’s decision holds that the

three-year statute of limitations runs from the date of first repudiation of ownership or authorship

and expressly invokes the Second Circuit’s holistic approach to repudiation. Applying that

standard, the Sixth Circuit held that, on the summary judgment record before it, there was a

dispute of fact as to whether one Everly brother had repudiated the other Everly brother’s claim

of authorship. But here, as both this Court and the Second Circuit found, Plaintiff’s own

complaint demonstrated that Mr. Seinfeld had repudiated Plaintiff’s asserted interests in the

Show six years before the suit was filed. Thus, even if Everly were the law of the land (and not

just the Sixth Circuit), Plaintiff’s lawsuit still would have been time-barred.


 1
     Defined terms have the meanings given to them in the Seinfeld Defendant’s motion for
     attorneys’ fees and costs, dated July 1, 2020.


                                                  1
        Case 1:18-cv-01196-AJN Document 131 Filed 08/17/20 Page 6 of 13




       Section 505 of the Copyright Act exists to provide “compensation and deterrence”—

compensation for the litigant’s expenses of defeating a meritless claim, and deterrence to others

that might bring a similarly meritless lawsuit. TufAmerica, Inc. v. Diamond, 2016 WL 1029553,

at *1 (S.D.N.Y. Mar. 9, 2016) (Nathan, J.) (quoting Fogerty v. Fantasy, Inc., 510 U.S. 517, 534

& n.19 (1994)). The Second Circuit has recognized that clearly time-barred claims pass Section

505’s “objectively unreasonable” threshold, and that “the objectives of the Copyright Act” are

furthered by “deterring such baseless” claims. Mahan v. Roc Nation, LLC, 634 F. App’x 329,

331 (2d Cir. 2016). As this Court recognized, Plaintiff’s claims were clearly time-barred under

the Second Circuit’s precedents. The Sixth Circuit’s decision in Everly only confirms—and does

nothing to change—that. This Court should award the Seinfeld Defendants their attorneys’ fees

and costs both to compensate them for the substantial expenses they have incurred in defending

against Plaintiff’s case, and to deter others that might similarly file clearly time-barred lawsuits

after a work is commercialized in the hope of extracting a settlement.

                                           ARGUMENT

I.     DEFENDANTS ARE ENTITLED TO RECOVER THEIR ATTORNEYS’ FEES
       AND COSTS

       A.      Plaintiff’s Copyright Claims Are Objectively Unreasonable under Second
               Circuit Precedent, and the Sixth Circuit’s Everly Decision Does Not
               Undermine that Conclusion

        When determining whether to award fees under Section 505 of the Copyright Act, courts

in the Second Circuit consider “‘frivolousness, motivation, objective unreasonableness (both in

the factual and in the legal components of the case), and the need in particular circumstances to

advance considerations of compensation and deterrence’ as relevant factors,” TufAmerica, 2016

WL 1029553, at *1 (quoting Fogerty 510 U.S. at 534 & n.19 (1994)), while giving “‘substantial




                                                  2
        Case 1:18-cv-01196-AJN Document 131 Filed 08/17/20 Page 7 of 13




weight’ to the reasonableness of [a] losing party’s litigating position[],” Kirtsaeng v. John Wiley

& Sons, Inc., 136 S. Ct. 1979, 1989 (2016).

       As the Second Circuit’s decision in this case makes clear, Plaintiff’s claims were

objectively unreasonable because they were “expressly repudiated in myriad ways” and “[a]n

abundance of case law supported the action’s dismissal.” Mahan v. Roc Nation, LLC, 2015 WL

4388885, at *3 (S.D.N.Y. July 17, 2015), aff’d, 634 F. App’x 329 (2d Cir. 2016); Summary

Order at 2. Remarkably, Plaintiff does not dispute that his claims were objectively unreasonable

under controlling Second Circuit precedent. Plaintiff instead suggests that the Sixth Circuit’s

decision in Everly demonstrates that the Second Circuit has misapprehended the law, and that

Plaintiff’s rejected position concerning the start of the limitations period is correct. Dkt. 130 at

6–9. When Plaintiff similarly asserted that Everly created a circuit split in his petition for

rehearing from the Second Circuit’s decision, the court denied the petition without calling for a

response. That is unsurprising because Everly does not come anywhere close to embracing the

strange position Plaintiff advanced in this case.

       It is true that Everly recognizes a distinction between “authorship” and “ownership”

claims, but the Sixth Circuit did not hold that authorship claims are subject to a different statute

of limitations regime than ownership claims. Instead, the Sixth Circuit recognized the uniform

view of the circuits that “the statute of limitations will bar a party’s co-ownership ‘claim’ if the

party does not sue within three years of the other owner’s ‘plain and express repudiation’ of that

purported co-ownership interest,” and further acknowledged that the parties agreed that “this

plain-and-express-repudiation test extends to their dispute over ‘authorship.’” Everly, 958 F.3d

at 460 (Murphy, J., concurring); see also id. at 452 (“[T]he express repudiation test should apply

to such a claim for a declaration of authorship rights as it does in the ownership context.”).




                                                    3
        Case 1:18-cv-01196-AJN Document 131 Filed 08/17/20 Page 8 of 13




       Applying this repudiation test, Everly cites to several Second Circuit decisions, including

Kwan and Mahan, while noting that there are “three types of repudiation” recognized by the

Second Circuit—“private repudiation, public repudiation, and implicit repudiation.” Id. at 452.

The Sixth Circuit observed that this holistic approach is “consistent with [its] caselaw.” Id. The

Sixth Circuit thus found that a claim of authorship can be repudiated—and the statute of

limitations triggered. Id. at 453 (internal citations omitted).

       This is indistinguishable from the test the Second Circuit applied in Kwan, that this Court

applied, and that the Second Circuit applied again in affirming this Court’s order of dismissal. In

short, there is no basis for Plaintiff’s suggestion his case might have fared better in the Sixth

Circuit. Plaintiff’s purported “circuit split between the Second and Sixth Circuits created by

Everly” is non-existent. Dkt. 130 at 2.

       Indeed, as the Second Circuit found, Mr. Seinfeld privately repudiated Plaintiff’s

authorship “in February 2012, [when] Seinfeld rejected [Plaintiff’s] request for backend

compensation and made it clear that [Plaintiff’s] involvement would be limited to a work-for-

hire basis.” Summary Order at 2. Mr. Seinfeld’s statement that Plaintiff was working on a

“work-for-hire basis” sufficed to repudiate both Plaintiff’s claim to ownership and his claim to

authorship. As the Second Circuit has explained, when a work is made for hire “the employer or

other person for whom the work was prepared is considered the author for purposes of this title.”

Gary Friedrich Enters., LLC v. Marvel Characters, Inc., 716 F.3d 302, 320 (2d Cir. 2013)

(internal citation omitted); see also Wilson v. Dynatone Publ’g Co., 892 F.3d 112, 119 (2d Cir.

2018) (“[I]n the case of works created . . . for an ‘employer for whom such work is made for

hire,’ the employer for hire becomes effectively the author . . .”) (internal citation omitted); 17

U.S.C. § 201(b) (“In the case of a work made for hire, the employer or other person for whom




                                                  4
         Case 1:18-cv-01196-AJN Document 131 Filed 08/17/20 Page 9 of 13




the work was prepared is considered the author for purposes of this title.”). By restricting

Plaintiff to a work-for-hire role, Mr. Seinfeld directly communicated to Plaintiff that he—and not

Plaintiff—was the sole author of the Show.

        Similarly, when “the show premiered in July 2012 without crediting Charles,” this

repudiated both Plaintiff’s claim of ownership and his claim of authorship. Summary Order at 2

(citing Kwan v. Schlein, 634 F.3d 227 (2d Cir. 2011)). Indeed, Everly states that a plaintiff’s

authorship claim may be repudiated by a defendant “asserting sole authorship to the world”

without crediting the plaintiff—citing the Second Circuit’s decision in Kwan. Everly, 958 F.3d

at 453 (citing Kwan, 634 F.3d at 229). And Everly also points to the Second Circuit’s decisions

in Mahan and Merchant to explain that an authorship claim—just like an ownership claim—may

be implicitly repudiated when the plaintiff “learns she is entitled to royalties she is not receiving.”

Id. at 452 (citing Mahan, 634 F. App’x at 331; Merchant v. Levy, 92 F.3d 51, 56-7 (2d Cir. 1996)).

        Thus even if Plaintiff’s claim were categorized as based on authorship rather than

ownership, and even if the Everly test for repudiation of authorship claims governed in the

Second Circuit, the result would be the same because the Sixth Circuit’s test for repudiation of

authorship is identical to (indeed, derived from directly) the Second Circuit’s test for repudiation

of ownership claims that this Court applied to dismiss Plaintiff’s claim as time-barred and the

Second Circuit invoked in its affirmance. Application of the same test leads inexorably to the

same result.2



 2
     In Everly, the claim to authorship was treated as separate from the claim of ownership
     because that case involved termination rights under Section 203 of the Act which are vested
     in authors specifically to allow them to terminate prior grants of interests in ownership. See
     958 F.3d at 449–50. Thus, the Sixth Circuit held that a repudiation of ownership was not
     necessarily sufficient to demonstrate repudiation of authorship and the right of termination
     flowing from it. Id. at 452. Of course, Section 203 termination rights are not implicated in
     this case. The causes of action for infringement claimed by Plaintiff are rights that can be


                                                   5
        Case 1:18-cv-01196-AJN Document 131 Filed 08/17/20 Page 10 of 13




        B.      Plaintiff Does Not Dispute that His Claims Are Objectively Unreasonable
                under Second Circuit Authority

        Plaintiff ignores the reality that this Court and the Second Circuit held that binding

authority, such as Kwan and Simmons v. Stanberry, 810 F.3d 114 (2d Cir. 2016) (per curiam),

compelled dismissal of his claims. See Dkt. 124 at 8–10; see also TufAmerica Inc., 2016 WL

1029553, at *2 (stating that a claim is “objectively unreasonable” when it disregards a “well-

settled principle of law.”). “Plaintiff’s claims under the Copyright Act were plainly time barred

and [are] therefore objectively unreasonable.”3 Mahan, 2015 WL 4388885, at *2. Courts in the

Second Circuit commonly award attorneys’ fees in cases involving “claims under the Copyright

Act [that are] plainly time barred.” Id. For example, in Mahan, the court rejected the plaintiff’s

argument that “fee shifting [was] not justified, as the dismissal of th[e] action as time barred was

‘a purely technical win’ that did not ‘impact the merits of [Plaintiff]’s substantive rights.’” Id.

The court found an award of attorneys’ fees was justified, holding that “it is well established that

a dismissal on statute of limitations grounds ‘operates as an adjudication on the merits.’” Id.

Similarly, in Sid Bernstein, the court ruled that the defendant was entitled to recover attorneys’

fees and costs because “Plaintiff’s claims were plainly time-barred” and thus “objectively

unreasonable,” and “considerations of compensation and deterrence [] militate[d] in favor of

awarding attorneys’ fees.” Sid Bernstein Presents, LLC v. Apple Corps Ltd., 2018 WL 1587125,

at *4 (S.D.N.Y. Mar. 29, 2018). Here, as in Mahan and Sid Bernstein, this Court and the Second


     asserted only by an owner of the copyright in the work. “[T]he dispute over [the Show] does
     not involve the nature, extent or scope, of copying, and therefore, ownership forms the
     backbone of the ‘infringement’ claim at issue here.” Kwan, 634 F.3d at 229. There
     accordingly is no legitimate basis to quarrel with this Court’s and the Second Circuit’s
     conclusion that the gravamen of the dispute among Plaintiff and the Seinfeld Defendants
     centered on ownership of the copyrights in the Show.
 3
     The frivolousness factor is often analyzed with objective reasonableness. See TufAmerica
     Inc. v. Diamond, 2018 WL 401510, at *3 (S.D.N.Y. Jan. 12, 2018) (Nathan, J.) (“A
     complaint is frivolous ‘where it lacks an arguable basis either in law or in fact.’”).


                                                  6
         Case 1:18-cv-01196-AJN Document 131 Filed 08/17/20 Page 11 of 13




Circuit dismissed the case as time-barred under controlling precedent. It was not a close call. As

such, the Seinfeld Defendants are entitled to recover their fees and costs.

        The “motivation factor” is also met because there are more than “indicia of bad faith

here.” See Porto v. Guirgis, 659 F. Supp. 2d 597, 617 (S.D.N.Y. 2009). Plaintiff protests that he

“did not crawl out of the woodwork” and is “not some reprobate opportunist.” Dkt. 130 at 2, 3.

But that claim is belied by the record and this Court’s finding that it was the announcement in

2017 that “Netflix inked a lucrative new deal for the show to join their platform,” that prompted

Plaintiff to file suit. Dkt. No. 106 at 3.4

        C.      The Court Should Deter Plaintiff’s Vexatious Litigation Tactics

        “[A]n award of attorneys’ fees and costs in this case will advance the purposes of the

Copyright Act by compensating the [Seinfeld Defendants] for expending the time and incurring

the expense of defending this action” and deterring others “from pursuing meritless claims, such

as those asserted in this action.” Sid Bernstein Presents, LLC, 2018 WL 1587125, at *4; see also

Mahan, 634 F. App’x at 331 (affirming district court’s holding that asserting time-barred

copyright claims “was objectively unreasonable and that awarding fees would deter similar

frivolous suits from being filed by others”); Baker v. Urban Outfitters, Inc., 431 F. Supp. 2d 351,

359 (S.D.N.Y. 2006) (noting that when a plaintiff pursues a meritless claim, “failing to award

attorneys’ fees to defendants . . . would invite others to bring similarly unreasonable actions

without fear of any consequences”).


 4
     Plaintiff argues for Rule 11 sanctions because the Seinfeld Defendants’ did not discuss the
     Sixth Circuit’s decision in Everly in their motion for fees and costs, but that argument is
     demonstrably frivolous. As Plaintiff concedes, the disclosure obligations under Rule 11
     “applies only to adverse authority ‘in the controlling jurisdiction.’” See Dkt. 130 at n.3. A
     decision of the Sixth Circuit obviously is not controlling authority in this Court. And as
     shown supra, because Everly applies the same test that this Court and the Second Circuit
     applied in this case, it hardly can be described as “adverse authority.” It could, however, be
     described as cumulative, or of limited relevance.


                                                  7
         Case 1:18-cv-01196-AJN Document 131 Filed 08/17/20 Page 12 of 13




         Further, while courts may consider economic disparities between the parties in calculating

a fee award, as Judge Nathan held in TufAmerica, “the fee award must still be sufficient to

accomplish the goals of Section 505 fee awards, namely ‘considerations of compensation and

deterrence.’” 2018 WL 401510, at *5 (S.D.N.Y. 2018) (quoting Fogerty, 510 U.S. at 534 n.19).

Here, unlike in TufAmerica, Plaintiff has neither challenged the amount of the requested fee

award, nor claimed financial hardship. Indeed, Plaintiff previously retained Duane Morris LLP,

an AM Law 100 law firm with more than 800 attorneys, to represent him in this action. Since

Plaintiff “was able to locate resources needed to file, escalate, and prolong this frivolous

litigation, [he] can also be expected to locate assets necessary to cover the fees award.” Id. at 6.

II.      PLAINTIFF DOES NOT CHALLENGE THE REASONABLENESS OF
         DEFENDANTS’ ATTORNEYS’ FEES AND COSTS

         The attorneys’ fees and costs sought by the Seinfeld Defendants were necessary to defend

against Plaintiff’s vexatious litigation tactics. In his opposition brief, Plaintiff does not contest

the Seinfeld Defendants’ counsel’s rates. Nor does Plaintiff contest the reasonableness of the

time incurred by the Seinfeld Defendants to defend this action. Thus, the Seinfeld Defendants

respectfully submit that no reduction in the requested amount of fees and costs is warranted. As

noted in their opening brief, Dkt. 124 at n.5, the Seinfeld Defendants are entitled to recover

attorneys’ fees and costs associated with this motion. The declaration attached to the Seinfeld

Defendants’ opening brief includes attorneys’ fees and costs incurred from the inception of the

case through May 2020. Attached hereto is a supplemental declaration substantiating additional

attorneys’ fees and costs, which were incurred by the Seinfeld Defendants in June and July 2020,

which are $27,246.00 in attorneys’ fees and $6,110.41 in costs. See Ex. A. Accordingly, the total

amount of attorneys’ fees and costs sought by the Seinfeld Defendants is $973,858.37. See Exs.

B & C.



                                                   8
        Case 1:18-cv-01196-AJN Document 131 Filed 08/17/20 Page 13 of 13




                                         CONCLUSION

       For the foregoing reasons, the Seinfeld Defendants respectfully request that the Court

grant their motion for attorneys’ fees and costs, together with such further relief as appropriate.

 Dated: New York, New York                         Respectfully Submitted,
        August 17, 2020

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                                                  9
